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                       SUMMARY/SHORT FORM NOTICE

                 NOTICE OF PENDENCY OF CLASS ACTION

       Your rights might be affected by a pending class action lawsuit.

      Visit    www.evanstonnorthwesternhealthcareantitrustcase.com           or    call
_________ to obtain additional information about this class action.

       Persons included in the Class. The Class has been defined as:

       All persons or entities in the United States of America and Puerto Rico,
except those who solely paid fixed amount co-pays, uninsureds who did not pay
their bill, Medicaid and Traditional Medicare patients, governmental entities,
defendant, other providers of healthcare services, and the present and former
parents, predecessors, subsidiaries and affiliates of defendant and other providers of
healthcare services who purchased or paid for inpatient hospital services or
hospital-based outpatient services directly from NorthShore University
HealthSystem (formerly known as Evanston Northwestern Healthcare), its wholly-
owned hospitals, predecessors, subsidiaries, or affiliates other than those acquired
as a result of the merger with Rush North Shore Medical Center (the “Class”) from
at least as early as January 1, 2000 to the present.

       Persons excluded from the Class. The following persons are excluded from
participating in this class:

      persons who paid only a fixed amount of insurance through co-pays;
      persons without insurance who did not pay their bill;
      Medicaid and Traditional Medicare patients;
      governmental entities;
      employees and/or affiliates of ENH / NorthShore;
      persons who only received services at Skokie Hospital; and
      other providers of healthcare services

      No decision on merits of case. Nothing in this Notice, or in the Court’s
order granting class certification, expresses any opinion by the Court as to the
merits of the claims or defenses asserted by either party in the litigation. The
sending of this Notice does not mean anything as to which side is right or wrong.
Instead, the point of this notice is to provide the Class with important information
so you can make an informed decision about your legal rights.

       Your options as a Class Member. If you are included in the Class, you will
need to decide whether (1) to stay in the Class and be bound by the results of any
court order, verdict, or judgment; or (2) ask to be excluded from the Class. To stay in
the Class, you do not need to do anything at this time. If you do not want to


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participate in this lawsuit, you can opt out of the class by sending a request to be
excluded to [name/address], and the exclusion request must be postmarked by
[Date].

       Opting out. You have the legal right to opt out of this class action. If you
choose to exercise your right to opt out of the class, you will not be bound by any
court orders or jury verdicts, but you keep your right to sue or otherwise resolve your
claims with ENH / NorthShore on your own. But if you opt out, you cannot make a
claim against any amounts that may be recovered by the Class from ENH /
NorthShore in a future settlement, if any, or as a result of any future judgment. To
opt out of the class, you must mail a letter or postcard that says you want to be
excluded from the Class in In re Evanston Northwestern Healthcare Antitrust
Litigation and include your name, address, telephone number, and signature. You
must mail the request to be excluded to [name/address], and it must be
postmarked no later than by [Date].

       Staying in the Class. If you stay in the class and do not opt out, you will give
up the right to file your own lawsuit or seek any other form of resolution of claims
you may have against ENH/NorthShore, and you will be legally bound by all court
orders, judgments, or settlements approved by the Court. You will be entitled to
make a claim against any moneys or benefits recovered from ENH / NorthShore as a
result of the lawsuit, if any, and will be notified about how to make a claim to
participate and request a share of any moneys or benefits created for the class.

       Potential arbitration limitation. ENH / NorthShore contends that some
class members might be subject to arbitration clauses that ENH / NorthShore
contends are part of some of the contracts between it and managed care
organizations, and that those class members would be required to “arbitrate” their
claims if they wished to pursue them, and thus cannot be part of the Class in this
lawsuit. Class Counsel do not agree that any class members would be required to
arbitrate the claims asserted in the lawsuit, and Class Counsel intend to oppose any
motion to require those class members to arbitrate. The Court has not decided
whether any class members must use arbitration, and it will not make any decision
about arbitration until after the time to opt out of the Class has expired..

       Class Representation. The Court has appointed Class Counsel to represent
the class: Marvin A. Miller of Miller Law LLC, 115 S. LaSalle Street, Suite 2910,
Chicago, IL 60603, and Mary Jane Fait, 115 S. LaSalle Street, Suite 2910, Chicago,
IL 60603. You may hire your own lawyer to appear in Court for you, but if you do,
you are responsible for paying that lawyer.

     More Information. If you have questions or want a detailed notice or other
documents    about    this    lawsuit     and     your      rights,   go     to
www.evanstonnorthwesternhealthcareantitrustcase.com or call ________.




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                              LONG FORM NOTICE

                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS

                 NOTICE OF PENDENCY OF CLASS ACTION


       A Class Action Lawsuit May Affect Your Rights.
       A court authorized this notice. You are not being sued.

      You could be affected by a class-action lawsuit involving the payment for
healthcare services received at Evanston Northwestern Healthcare (“ENH”), which
is now known as NorthShore University HealthSystem (“NorthShore”), after its
merger with Highland Park Hospital.


      Are you affected? If you paid for inpatient-hospital services or hospital-
based outpatient services that you received directly from Evanston Northwestern
Healthcare, now known as NorthShore University HealthSystem, from January 1,
2000 to the present, then you might be affected. A federal court has certified a
lawsuit to proceed as a class action.

       The case involves the price of hospital services after ENH’s merger with
Highland Park Hospital, including services at Evanston Hospital, Highland Park
Hospital, or Glenbrook Hospital. But the lawsuit does not include hospital services
received at Rush North Shore Medical Center (now known as Skokie Hospital).

       Certain persons or entities are excluded from being part of the class action:

      persons who paid only a fixed amount of insurance through co-pays;
      persons without insurance who did not pay their bill;
      Medicaid and Traditional Medicare patients;
      governmental entities;
      parents, predecessors, subsidiaries, and/or affiliates of ENH / NorthShore;
      persons who only received services at Skokie Hospital; and
      other providers of healthcare services.

       Generally, hospital services classified as “inpatient services” are those that
require an overnight hospital stay, and “hospital-based outpatient services” are
those that do not require an overnight hospital stay.

      What is the name of the lawsuit? The lawsuit is called In re Evanston
Northwestern Healthcare Corp. Antitrust Litigation, Case No. 07-cv-04446, and is
pending in the United States District Court for the Northern District of Illinois in


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Chicago. On December 10, 2013, the Court decided that this lawsuit could proceed
as a class action on behalf of a group of people and entities (the “Class”) that might
include you.

      No decision on merits of case. Nothing in this Notice, or in the Court’s
order granting class certification, expresses any opinion by the Court as to the
merits of the claims or defenses asserted by either party in the litigation. The
sending of this Notice does not mean anything as to which side is right or wrong.
Instead, the point of this notice is to provide the Class with important information
so you can make an informed decision about your legal rights.

       What is this case about? This lawsuit was brought as a class action on
behalf of all persons and entities who paid for inpatient and hospital-based
outpatient healthcare services directly from ENH/NorthShore after the merger with
Highland Park Hospital from January 1, 2000 to the present. The lawsuit alleges
that ENH / NorthShore caused purchasers to be overcharged for healthcare
services. Generally, hospital services classified as “inpatient services” are those
that require an overnight hospital stay, and “hospital-based outpatient services” are
those that do not require an overnight hospital stay. ENH / NorthShore denies that
it did anything wrong and argues, among other things, that the claims in the
lawsuit have no merit. The Court has not yet decided whether the Class
Plaintiffs or ENH / NorthShore is correct. If this case goes to trial, the lawyers
for the Class will have to prove the claims.

       Background of litigation. The class-action complaint alleges that ENH /
NorthShore raised its rates after ENH acquired Highland Park Hospital on
January 1, 2000, and that it did so in a way that is illegal under the antitrust laws.
ENH / NorthShore denies these claims. The parties have vigorously litigated the
suit for seven years, including many motions and an appeal over whether to certify
the lawsuit as a class action. More information can be obtained by examining the
court files at the Clerk’s Offices of the United States District Court for the Northern
District of Illinois and the United States Court of Appeals for the Seventh Circuit,
or by contacting Class Counsel. To contact Class Counsel, see the section below
under the heading, How Do I Get More Information?

      Who is a member of the Class? The Class has been defined as:

      All persons or entities in the United States of America and Puerto Rico,
except those who solely paid fixed amount co-pays, uninsureds who did not pay
their bill, Medicaid and Traditional Medicare patients, governmental entities,
defendant, other providers of healthcare services, and the present and former
parents, predecessors, subsidiaries and affiliates of defendant and other providers of
healthcare services who purchased or paid for inpatient hospital services or
hospital-based outpatient services directly from NorthShore University
HealthSystem (formerly known as Evanston Northwestern Healthcare), its wholly-
owned hospitals, predecessors, subsidiaries, or affiliates other than those acquired


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as a result of the merger with Rush North Shore Medical Center (the “Class”) from
at least as early as January 1, 2000 to the present.

       Persons excluded from the Class. The following persons are excluded from
participating in this class:

      persons who paid only a fixed amount of insurance through co-pays;
      persons without insurance who did not pay their bill;
      Medicaid and Traditional Medicare patients;
      governmental entities;
      employees and/or affiliates of ENH / NorthShore;
      persons who only received services at Skokie Hospital; and
      other providers of healthcare services

      Your legal rights and options in this lawsuit. The Court has ordered
that you be sent notice now because you have to decide whether to stay in the Class,
or whether to remove yourself from the Class, and you have to decide this by ______.

       This notice summarizes your rights and options at this time. More
information is available at the website listed below. If you are part of the Class, you
will need to decide whether to: (1) stay in the class or (2) ask to be excluded from the
class.

      To stay in the class, you do not need to do anything at this time. If you do not
want to participate in this lawsuit, you can opt out of the class and request to
exclude yourself.

       Potential arbitration limitation. ENH / NorthShore contends that some
class members might be subject to arbitration clauses that ENH / NorthShore
contends are part of some of the contracts between it and managed care
organizations, and that those class members would be required to “arbitrate” their
claims if they wished to pursue them, and thus cannot be part of the Class in this
lawsuit. An arbitration is an out-of-court procedure that is used to resolve a dispute.
Class Counsel do not agree that any class members would be required to arbitrate
the claims asserted in the lawsuit, and Class Counsel intend to oppose any motion
(that is, any request to the Court) to require those class members to arbitrate. The
Court has not decided whether any class members are subject to arbitration
provisions, and it will not make any decision about arbitration until after the time
to opt out of the Class has expired.


       Opting Out. You have the legal right to opt out of this class action. If you
choose to exercise your right to opt out of the Class, you will not be bound by any
court orders, jury verdicts, or settlements approved by the Court, but you keep your
right to sue or otherwise resolve your claims with ENH / NorthShore on your own. If
you opt out, you cannot make a claim against any amounts that might be recovered


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by the class from ENH / NorthShore in a settlement or as a result of a judgment, if
any. To opt out of the class, you must mail a letter or postcard that says you want to
be excluded from the Class in In re Evanston Northwestern Healthcare Corp.
Antitrust Litigation, and include your name, address, telephone number and
signature. You must mail the request to be excluded to [name/address], and it must
be postmarked no later than by [Date].


       Staying in the Class. To stay in the Class, you do not need to do anything
at this time. But as noted above, remember that ENH / NorthShore might be asking
the Court to require certain class members to arbitrate their claims rather than
remain in the Class.

       If you stay in the Class and do not opt out, you will give up the right to file
your own lawsuit or seek any other form of resolution of claims you might have
against ENH/NorthShore, and you will be legally bound by all court orders,
judgments, or settlements approved by the Court. If money or benefits are obtained
as a result of a settlement or judgment in the lawsuit, you might be entitled to some
of the money or benefits. You will not be able to sue, or continue to sue ENH /
NorthShore, as part of any other lawsuit for any alleged overcharges relating to
inpatient and hospital-based outpatient healthcare services from January 1, 2000 to
the present. If money or benefits are obtained in this class action, you will be notified
about how to make a claim to participate and request a share of any money or
benefits created for the Class. As noted above, your rights might be subject to
contractual arbitration provisions.

       Who represents you? The Court appointed Marvin A. Miller of Miller Law
LLC, 115 S. LaSalle Street, Suite 2910, Chicago, IL 60603, and Mary Jane Fait, 115
S. LaSalle Street, Suite 2910, Chicago, IL 60603 as “Class Counsel” to represent
you. To participate in the class action, you don’t have to pay Class Counsel or anyone
else. Instead, if Class Counsel recovers money or benefits for the Class, they will ask
the Court for an award of attorneys’ fees and costs, which might either be deducted
from any money recovered for the Class or paid by ENH / NorthShore. You may hire
your own lawyer to appear in Court for you, but if you do, you are responsible for
paying that lawyer.


       How Can I Get More Information? If you have questions or want a
detailed notice or other documents about this lawsuit and your rights, go to
www.evanstonnorthwesternhealthcareantitrustcase.com or call [insert].




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